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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

UNITED STATES OF AMERICA                       §
                                               §
VS.                                            §   CASE NO. 2:12-CR-10(1) JRG-RSP
                                               §
APOLINAR CARBAJAL ABELARDO                     §

              ORDER ADOPTING MAGISTRATE JUDGE=S REPORT AND
                       FINDING DEFENDANT GUILTY

       On this day, the Court considered the Findings of Fact and Recommendation of United

States Magistrate Judge Roy S. Payne regarding defendant=s plea of guilty to Count 1 in a

superseding indictment with a violation of 21 U.S.C. ' 846, Conspiracy to Possess with Intent to

Distribute and Distribution of Methamphetamine and Cocaine of More than 50 grams. Having

conducted a proceeding in the form and manner prescribed by FED. R. CRIM P. 11, the Magistrate

Judge recommends that the Court accept the defendant=s guilty plea. The parties waived their
    .
right to file objections to the Findings of Fact and Recommendation. The Court is of the opinion

that the Findings of Fact and Recommendation should be accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the

United States Magistrate Judge, filed March 1, 2013, are hereby ADOPTED.

       It is further ORDERED that, pursuant to defendant=s plea agreement, the Court finds

defendant GUILTY of Count 1 of the indictment in the above-numbered cause.
        SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 20th day of March, 2013.




                                                        ____________________________________
                                                        RODNEY GILSTRAP
                                                        UNITED STATES DISTRICT JUDGE
